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                  EXHIBIT 3
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )    CIVIL ACTION: 01-CV-12257-PBS
                                                 )    Subcategory Docket: 06-CV-11337-PBS
                                                 )
THIS DOCUMENT RELATES TO                         )    Judge Patti B. Saris
                                                 )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., No. 07-CV-    )
11618-PBS                                        )

                        ORDER OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, 31 U.S.C. § 3730(b)(1), Relator Ven-A-Care of the Florida Keys,

Inc. (“Relator”), and Abbott Laboratories Inc. and Abbott Laboratories (“Abbott”) have filed

with this Court a Stipulation of Voluntary Dismissal With Prejudice in the above-captioned case.

The United States has submitted the United States’ Consent to Relator and Defendant’s

Stipulation for Voluntary Dismissal With Prejudice. Upon due consideration of the Stipulation

of Voluntary Dismissal With Prejudice; the December 7, 2010 Settlement Agreement between

the United States, Abbott, and Relator (“United States Settlement Agreement”); the December 7,

2010 Settlement Agreement and Release between Relator and Abbott (“Relator-Abbott

Settlement Agreement”); the United States’ Consent to Relator and Defendant’s Stipulation for

Voluntary Dismissal With Prejudice; the Declaration of Relator Ven-A-Care of the Florida Keys,

Inc. in Support of the Comprehensive Settlement of ‘AWP-Type Claims’ for the Federal Share

of Medicaid Overpayments Against Abbott Laboratories, Inc. (“Relator’s Declaration”) (attached

hereto as Exhibit A); and the Relator’s representation that, consistent with the standards

previously applied by this Court and affirmed by the First Circuit, the reported prices and

marketing conduct for Abbott PPD drugs with substantial Medicaid expenditures not identified
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in the above-captioned case, and reflected on Exhibit A to the Relator’s Declaration, were neither

false, fraudulent, nor deceptive,

       IT IS ORDERED that:

       1.      All claims that were asserted or that could have been asserted by the Relator on

behalf of the United States in United States ex rel. Ven-A-Care v. Abbott Laboratories, Inc., No.

07-CV-11618-PBS (D. Mass.) (previously captioned United States ex rel. Ven-A-Care of the

Florida Keys, Inc. v. Abbott Laboratories, Inc., 06-CV-11337-PBS (D. Mass.)) (the

Massachusetts Abbott HPD Case), are hereby dismissed, with prejudice.

       2.      The Court has reviewed the Relator-Abbott Settlement Agreement and the

Relator’s Declaration. Based on that review, the Court finds that the parties’ settlement is

reasonable and that this Order fully, finally, and forever resolving and settling, to the extent

Relator is capable under applicable law and subject to the exception in Paragraph 3 of the

Relator-Abbott Settlement Agreement, any and all claims that Relator has asserted or could have

asserted concerning List Prices, Direct Prices, Average Wholesale Prices, Wholesale Acquisition

Costs, and/or any other price reported to the national pricing compendia for any drug

manufactured by Abbott’s PPD for the time period 1991 through 2005, should be entered.

       3.      Each party shall bear its own costs and attorneys’ fees.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the United States Settlement Agreement and the Relator-Abbott Settlement Agreement to the

extent reasonably necessary and appropriate.

                       IT IS SO ORDERED THIS __ day of _____________, 2010.

                                               _______________________________________
                                               THE HONORABLE PATTI B. SARIS
                                               UNITED STATES DISTRICT COURT JUDGE




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                 EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                   )   MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )   CIVIL ACTION: 01-CV-12257-PBS
                                                 )   Subcategory Docket: 06-CV-11337-PBS
                                                 )
THIS DOCUMENT RELATES TO                         )   Judge Patti B. Saris
                                                 )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )   Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al., No.   )
06-CV-11337-PBS and U.S. ex rel. Ven-A-          )
Care of the Florida Keys, Inc. v. Abbott         )
Laboratories, Inc., No. 07-CV-11618-PBS          )

            Declaration of Relator, Ven-A-Care of the Florida Keys, Inc., in Support of the
             Comprehensive Settlement of “AWP Type Claims” for the Federal Share of
                      Medicaid Overpayments Against Abbott Laboratories Inc.


       1.       Ven-A-Care of the Florida Keys, Inc. is the qui tam Relator in both of the above

styled cases brought against Abbott Laboratories Inc. (“Abbott”) pursuant to the federal False

Claims Act (31 U.S.C. § 3729, et. seq.) (collectively, the “Abbott Qui Tam FCA Actions”). The

first action was commenced in June 1995 in the United States District Court for the Southern

District of Florida (the “Florida Civil Action”). In March 2006, the United States intervened

with respect to certain allegations made against Abbott in the Florida Civil Action. At that time,

the intervened claims against Abbott were severed and assigned case number 06-21303-CV-

GOLD (S.D. Fla.). In July 2006, the intervened claims against Abbott were transferred to MDL

and assigned case number 06-CV-11337-PBS. This action, hereafter the “Florida Abbott HPD

Case,” relates to pharmaceutical products manufactured by Abbott’s former Hospital Products

Division.

       2.       The second action was commenced in April 2000 in the United States District

Court for the District of Massachusetts (the “Massachusetts Civil Action”). The Relator
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amended this action in February 2001 to include claims against Abbott relating to

pharmaceutical products manufactured by Abbott’s Pharmaceutical Products Division (“PPD”).

The United States declined to intervene in the claims made against Abbott in the Massachusetts

Civil Action. The Relator has proceeded with the civil prosecution of the claims against Abbott

in the Massachusetts Civil Action on behalf of the United States. In August 2007, the claims

against Abbott in the Massachusetts Civil Action were severed, the severed action against Abbott

was assigned Civil Action No. 07-CV-11618-PBS (the “Massachusetts Abbott PPD Case”), and

Relator filed a severed amended complaint. The severed claims in Civil Action No. 07-CV-

11618-PBS were transferred to MDL 1456.

       3.      The Abbott Qui Tam FCA Actions are both based on the Relator’s disclosures of

information to the United States and allegations that Abbott engaged in a course of conduct

whereby it allegedly knowingly reported falsely inflated prices for some of its drugs in order to

cause the states and federal jointly funded Medicaid Program, and for some drugs the Medicare

Program, to overpay for Abbott’s pharmaceutical products, thus creating a financial inducement

for Abbott’s customers which the Relator alleges Abbott knowingly exploited as a marketing

advantage. The Relator has alleged that Abbott’s conduct violated the False Claims Act (31

U.S.C. § 3729, et. seq.) and the Medicare and Medicaid Anti-kickback Statute (42 U.S.C.

§1320a-7b(b)).

       4.      The Abbott Qui Tam FCA Actions are two of many “AWP Type Cases” included

in this MDL and otherwise filed in other courts around the United States. The Relator has

brought similar AWP Type Cases against Abbott under the qui tam provisions of other state

statutes similar to the federal FCA seeking recovery of alleged Medicaid overpayments.




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       5.       The Relator, Abbott, and the United States have agreed to a resolution that will

encompass both of the Abbott Qui Tam FCA Actions. Although the United States declined to

intervene in the Massachusetts Abbott PPD Case, the Relator cannot effectively settle that case

unless the United States consents to its dismissal with prejudice. The Relator understands that

the requisite consent will be given as part of the parties’ comprehensive resolution of the Abbott

Qui Tam FCA Actions. The Relator has agreed to provide this Declaration in order to facilitate

the resolution of the Massachusetts Abbott PPD Case. The Relator, acting through its current

officer and director, John Lockwood, M.D. and with the knowledge and consent of the Relator’s

President, T. Mark Jones, understands that the representations contained herein will be made part

of the proposed order dismissing the Massachusetts Abbott PPD Case.

       6.      In the Massachusetts Abbott PPD Case, the Relator alleged FCA violations with

respect to various National Drug Codes of the drug, Erythromycin, sold by Abbott’s PPD

Division. The Relator’s allegations in the Massachusetts Abbott PPD Case focus on those drugs

for which the Relator determined that FCA violations could be established and substantial

damages recovered based, in part, on an analysis and drug selection process similar to the

standards that would later be applied by the Court in the present MDL, consistent with the “30%

yardstick expected in the industry” (the “30% yardstick”) and the Court’s finding that “if more

than 50 percent of all sales were made at or about [within 5%] the list price, the list price will not

be deemed fictitious” (the “50% within 5% WAC” test). See In re: Pharmaceutical Industry

Average Wholesale Price Litigation, 491 F. Supp.2d 20, 32, 101-02, 105 (D. Mass. 2007).

       7.      The Relator’s investigations of Abbott’s conduct have included, but have not been

limited to, an investigation of price reporting and related marketing conduct with respect to

Abbott PPD brand drugs for which there was substantial Medicaid reimbursement, on a WAC




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plus or AWP minus basis, during the 1991 thorough 2005 time period. In addition to the

Erythromycin products identified in the Massachusetts Abbott PPD Case, the Relator’s

investigation included those Abbott PPD brand drugs listed on Exhibit A attached hereto. The

Relator carefully analyzed its industry insider pricing and marketing information relating to those

brand drugs reflected on Exhibit A, including, but not limited to, the McKesson/Econolink

pricing data at various points in time, the Amerisource Bergen Echo pricing database at various

points in time, and pricing information from various group purchasing organizations and other

sources.1 To determine whether the WAC and AWP prices would be considered false,

fraudulent, or deceptive consistent with the standards applied by this Court, the Relator

compared the market price information contained in McKesson/Econolink pricing data,

Amerisource Bergen Echo pricing database, and various other sources with the WAC and AWP

information published by First Databank for those drugs listed on attached Exhibit A. In

addition, the Relator further considered its industry insider information in an effort to identify

instances where it considered the manufacturer to have marketed an inflated spread for those

drugs reflected on Exhibit A.




1
 Relator understands that additional NDCs of the drugs listed in Exhibit A were sold in the marketplace. The
Relator analyzed those NDCs for which it had pricing information.


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                   EXHIBIT A

     to Relator Declaration
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NDC                  Drug
00074258611          BIAXIN
00074258660          BIAXIN
00074316313          BIAXIN
00074316350          BIAXIN
00074318813          BIAXIN
00074318850          BIAXIN
00074336811          BIAXIN
00074336860          BIAXIN
00074338660          BIAXIN
00074316511          BIAXIN XL
00074316541          BIAXIN XL
00074316560          BIAXIN XL
00074166413          CARTROL
00074166513          CARTROL
00074602513          CYLERT
00074605713          CYLERT
00074607313          CYLERT
00074608813          CYLERT
00074156410          DEPACON
00074568113          DEPAKENE
00074568216          DEPAKENE
00074621211          DEPAKOTE
00074621213          DEPAKOTE
00074621411          DEPAKOTE
00074621413          DEPAKOTE
00074621453          DEPAKOTE
00074621511          DEPAKOTE
00074621513          DEPAKOTE
00074621553          DEPAKOTE
00074821213          DEPAKOTE
00074712611          DEPAKOTE ER
00074712613          DEPAKOTE ER
00074611411          DEPAKOTE SPRINKLE
00074611413          DEPAKOTE SPRINKLE
00074337704          DESOXYN
00074694104          DESOXYN
00074694808          DESOXYN
00074695907          DESOXYN
00074379401          DICUMAROL
00074683801          ENDURONYL
00074685401          ENDURONYL FORTE
00074332213          HYTRIN
00074332311          HYTRIN
00074332313          HYTRIN
00074332413          HYTRIN
00074332511          HYTRIN
00074332513          HYTRIN
00074380511          HYTRIN
00074380513          HYTRIN
00074380611          HYTRIN
00074380613          HYTRIN
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00074380711          HYTRIN
00074380713          HYTRIN
00074380811          HYTRIN
00074380813          HYTRIN
00074395646          KALETRA
00074395977          KALETRA
00074780411          K-TAB
00074780413          K-TAB
00074780419          K-TAB
00074780425          K-TAB
00074314201          NEMBUTAL
00074311401          NEMBUTAL SODIUM
00074314801          NEMBUTAL SODIUM
00074315011          NEMBUTAL SODIUM
00074316401          NEMBUTAL SODIUM
00074377804          NEMBUTAL SODIUM
00074377805          NEMBUTAL SODIUM
00074194063          NORVIR
00074663322          NORVIR
00074949202          NORVIR
00074376930          OMNICEF
00074376960          OMNICEF
00074377113          OMNICEF
00074377160          OMNICEF
00074615113          OMNICEF
00074615160          OMNICEF
00074338913          PCE
00074629060          PCE
00074373513          PROSOM
00074373613          PROSOM
00074269913          TRANXENE SD
00074299713          TRANXENE SD
00074438913          TRANXENE T-TAB
00074439013          TRANXENE T-TAB
00074439113          TRANXENE T-TAB
00074400990          TRICOR
00074401390          TRICOR
00074434290          TRICOR
00074641590          TRICOR
00074644790          TRICOR
